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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

  AMERICAN ASSOCIATION OF
  UNIVERSITY PROFESSORS—
  HARVARD FACULTY CHAPTER, et al.
                               Plaintiffs,             Case No. 1:25-CV-10910-ADB
                v.

  UNITED STATES DEPARTMENT OF
  DEPARTMENT OF JUSTICE, et al.,
                              Defendants.


            NOTICE OF PRODUCTION OF ADMINISTRATIVE RECORD

       The undersigned counsel hereby certifies that on May 19, 2025, the administrative record,

with the exception of the portion to be produced by Proposed Defendant United States Department

of Agriculture (“USDA”), see Assented-to Motion for Extension, Dkt. No. 57, was served directly

upon Plaintiffs’ counsel via box.com, a cloud-based content management and file-sharing

platform.

                                                   Respectfully submitted,


                                                   LEAH B FOLEY
                                                   United States Attorney

Dated: May 19, 2025                          By:   /s/ Anuj K. Khetarpal
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       Case 1:25-cv-10910-ADB           Document 58        Filed 05/19/25      Page 2 of 2




                                                      Counsel for Defendants



                                 CERTIFICATE OF SERVICE


       I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).




Dated: May 19, 2025                       By:         /s/ Anuj Khetarpal
                                                      Anuj Khetarpal
                                                      Assistant United States Attorney




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